                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE


UNITED STATES OF AMERICA                         )
                                                 )
                                                 )       No. 3:05-CR-124
V.                                               )       (JORDAN/GUYTON)
                                                 )
WILLIE CURTIS HENRY                              )


                            MEMORANDUM AND ORDER

               The defendant appeared before the undersigned on May 1, 2006, for a hearing

on the defendant’s Motion to Withdraw as Attorney [Doc.71]. Assistant United States

Attorney Hugh B. Ward, Jr. was present representing the government. Robert L. Vogel was

present representing the defendant. Attorney Mike Whalen appeared and advised this Court

that he has been retained to represent defendant Willie Curtis Henry.

               The Motion to Withdraw as Attorney [Doc. 71] was unopposed by the

government and GRANTED and Mr. Vogel is allowed to withdraw as counsel of record.

               Accordingly, it is ORDERED that Robert L. Vogel is relieved as counsel

for Willie Curtis Henry and Mike Whalen is substituted as retained counsel of record for Mr.

Henry.

                                          ENTER:


                                                s/ H. Bruce Guyton
                                          United States Magistrate Judge




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